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                 Exhibit C
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE,
 et al.,

                Plaintiffs,
                                                         Civil Action No. 25-965-JRR
                        v.

 THE UNITED STATES OF AMERICA, et al.,

                Defendants.

                     DECLARATION OF DAAIYAH BILAL-THREATS

       I, Daaiyah Bilal-Threats, declare pursuant to 28 U.S.C. § 1746, that the following is true

and correct:

       1.      I am over the age of 18 and competent to testify to the matters described below.

This declaration is based on my personal knowledge and knowledge collected in the ordinary

course of business. If called as a witness, I could and would testify competently to the matters set

forth below.

       2.      I am the Senior Director of the Education Policy and Implementation Center

(“EPIC”) at the National Education Association (“NEA”). I am authorized to provide this

declaration on behalf of NEA, which is a plaintiff in the above-captioned lawsuit.

       3.      EPIC serves as NEA’s policy development, research, and advocacy hub for

elementary, secondary, career and technical education (“CTE”), higher education, and

international education. Its role is to facilitate NEA’s leadership in identifying, advocating,

implementing, and assessing policy solutions that advance NEA’s goals, vision, and values. EPIC

is also NEA’s lead liaison with the U.S. Department of Education (“the Department”).
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       4.      As Senior Director, I am deeply involved in, and manage the work of, EPIC’s four

divisions, including the Education Policy and Practice Division (“EPP”) and the Research

Department. EPP develops student-centered policy for reauthorizations of federal legislation and

evaluates and ensures effective implementation of statutes like the Elementary and Secondary

Education Act (ESEA), Individuals with Disabilities Education Act (“IDEA”), the Higher

Education Act, and the Perkins Career and Technical Education Act (“Perkins V”). That work

includes regularly notifying NEA affiliates of grant opportunities announced by the Department,

supporting affiliates’ efforts to collaborate with their states and school districts to pursue federal

funding opportunities, and discussing funding challenges. EPP also seeks to effectively impact

policy implementation through member engagement in areas including disability rights and

inclusion and public engagement and regulatory advocacy with the Department.

       5.      The Research Department has expertise in surveys, program evaluation,

quantitative and qualitative data collection and analysis, and strategic research. NEA researchers

apply these skills to ensure that NEA’s policy development and implementation efforts are

evidence based, through analysis and dissemination of data from federal state and local agencies;

program evaluations and research surveys; development of datasets and statistical models; and

strategic research.

       6.      As detailed below, Defendants’ actions have terminated some and imperiled many

of the federal education programs integral to NEA’s work, and on which NEA members rely.

Defendants’ dismantling of these programs inflicts direct injury on NEA members and undermines

NEA’s core interests.

       7.      EPIC has dedicated considerable resources to analyzing the consequences of the

dismantling of the Department so that NEA can effectively represent our members’ interests. The




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information in this declaration is not exhaustive, as we continue to evaluate the impacts of the

Trump Administration’s attack on the Department on our members.

                  NEA Member Positions Supported by Department Formula Grants

        8.       NEA supported the creation of the Department in 1979 and advocated for the

creation of new education programs administered by the Department, with the goal of providing

critical funding for students, educators, and schools. These programs, if administered as enacted

by Congress, promote educational equity by supporting services and programs in high-need

schools and for students with unique educational needs.

        9.       For example, Title I of the ESEA now serves an estimated 26 million students in

nearly 90% of school districts and nearly 60% of all public schools. 1 Title I formula grants,

including awards under Title I-A to support the educational needs of economically disadvantaged

students and under Title I-C to support the educational needs of migratory children, fund the

salaries, stipends, and employment benefits for educators throughout the country in Title I schools

including teachers, education support professionals and Title I coordinators. NEA estimates, based

on EPIC’s analysis of each state’s federal education funding and NEA’s market share, that at least

63,449 of those educators are NEA members whose positions are supported by Title I grant awards.

        10.      In addition, rural school districts that receive funds through ESEA Title V-B’s

Rural Education Achievement Program (“REAP”) use those funds to support educator recruitment

and hiring. NEA estimates, based on EPIC’s analysis of the federal education funding received by

school districts that employ our members and NEA’s market share, that at least 437 rural educators

are in positions funded entirely or partly by REAP awards.



1
  Nat’l Ctr. For Educ. Statistics, U.S. Dep’t of Educ., Common Core of Data: Local Education Agency (School
District)     Universe    Survey    (2022-23);     School  District  Finance     Survey      (F-33)   (2021-22),
https://nces.ed.gov/ccd/elsi/tableGenerator.aspx; NCES, Digest of Education Statistics, tbls. 104.10 and 219.46,
https://bit.ly/4iEtrUp.


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        11.      NEA members also work in other positions that receive partial or full support from

ESEA formula grant programs other than Title I and REAP. For example, based on NEA’s

membership data, we estimate that at least 12,500 NEA members work in roles related to English

Language Acquisition (“ELA”). School districts frequently use their awards under ESEA Title III-

A to pay the salaries and benefits associated with these positions. Likewise, ESEA Title IV-A and

IV-B grant funding is often used to pay the salaries of personnel working in roles associated with

schools’ and districts’ Title IV programming, such as expanding foreign language, arts, and STEM

curricula, offering before and after-school or summer programs, or making physical and mental

health services available on school premises. And school districts rely on ESEA Title II-A awards

to support critical educator professional development and training, as well as efforts to recruit and

retain effective educators and reduce class size in high-needs schools. 2

        12.      Outside of the ESEA, Part B of the IDEA provides funding to school districts to

pay for excess and high costs associated with providing special education and related services to

children with disabilities, including but not limited to costs for the salaries and benefits of special

education teachers and administrators; professional support personnel like speech therapists,

occupational therapists, and school psychologists; and professional development for special

education personnel and regular education teachers who teach children with disabilities. NEA

estimates, based on EPIC’s analysis of each state’s federal education funding and NEA’s market

share, that at least 56,727 members currently work in positions funded by IDEA Part B awards.

        13.      Similarly, Basic Grants to States under the Carl D. Perkins Career and Technical

Education Act, as amended by the Strengthening Career Education for the 21st Century Act

(“Perkins V”), provide funding to school districts, through their states, for career and technical


2
 Eric Isenberg & Ann Webber, NCEE 2021-011, State and District Use of Title II, Part A Funds in 2019-20, at 6–
14 (2021), https://ies.ed.gov/sites/default/files/migrated/nces_pubs/ncee/pubs/2021011/pdf/2021011.pdf.


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education programs. NEA estimates, based on EPIC’s analysis of the federal education funding

received by each state and NEA’s market share, that Perkins V awards currently fund

approximately 2,825 members working in career and technical education programs as career and

technical instructors; technical instructional aides; career counselors; and other roles, including as

paraprofessionals, special education teachers, and English learner educators.

       14.     Likewise, based on NEA’s membership data, we estimate that approximately

134,000 NEA members work in higher education, while 41,000 NEA members are Aspiring

Educators currently enrolled in postsecondary educator preparation programs. The vast majority

of colleges and universities where they work or attend school participate in federal student

financial aid programs under Title IV of the Higher Education Act (“HEA”) and some receive

funding through the HEA’s formula grant programs for Historically Black Colleges and

Universities and Minority Serving Institutions. These federal funds support positions for, and make

postsecondary opportunities available to NEA members.

       15.     In total, NEA estimates that the Department’s various formula grant programs

support about 420,000 educator jobs nationwide. The dismantling of the Department’s formula

grant administration infrastructure puts these jobs, many of which are held by NEA members, at

risk by introducing uncertainty around states’, school districts’, and institutions of higher

educations’ receipt of federal funding and the accuracy of future formula grant allocations.

       16.     It is my understanding that the Department has eliminated the staff and contracts

that collected and analyzed the data inputs required by statute to calculate formula grant

allocations. Running the formulas with prior years’ data will result in schools and districts

receiving less funding than they are entitled to under the formulas.




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       17.     For example, using Department data from the five school years 2016–2020, EPIC’s

Research Department has analyzed how frequently schools’ Title I status changes from year to

year. Of particular note, as illustrated by the chart below, based on our analysis, in each of the five

school years studied, on average, 13% of schools that were ineligible for Title I funding in one

school year became eligible for funding in the following school year: 16% in 2016; 13% in 2017;

14% in 2018; 13% in 2019; and 10% in 2020.




       18.     EPIC’s analysis of the data underlying this chart indicates that in any given school

year, on average, 12,000 schools that were ineligible for Title I funding the previous year will




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become eligible. 3 Had the Department relied on prior-year data to determine schools’ eligibility

status, these schools would have been inaccurately labeled as ineligible for the second school year

and would not have received the Title I funding to which they were entitled. In contrast, only 4,000

schools that were eligible for Title I funding will become ineligible.

        19.      The data thus suggest that relying on past years’ data to determine schools’ Title I

eligibility will ossify their Title I status. This, in turn, will skew allocations for every school and

district and harm schools and districts that experience significant demographic changes from one

school year to the next.

        20.      In addition, for a significant percentage of schools and districts, who would shift

from ineligible to eligible status if new data were used, stale data will generate financial harms.

Indeed, a failure to determine Title I eligibility based on current data is three times more likely to

deprive a school of Title I funding to which it is entitled than to award funding to a school that no

longer qualifies.

        21.      The schools that are more likely to be incorrectly labeled as ineligible for Title I

funds include schools employing NEA members in Maryland. For example, eight schools in Prince

George’s County Public Schools, a Maryland district, did not receive Title I funding for the 2024–

2025 school year, but are on the cusp of Title I eligibility, such that small demographic changes

would likely make them eligible. These are Croom High School, International High School at

Langley Park, Rose Valley Elementary School, Middleton Valley Academic, the Margaret Brent

Regional Center, the Chapel Forge Early Childhood Center, the James E. Duckworth Regional

Center, and the Kenmoor Early Childhood Center.




3
 EPIC retrieved the underlying data from the NCES School Universe Survey raw datafiles for 2015-2020, which are
available at https://nces.ed.gov/ccd/files.asp.


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       22.     EPIC’s analysis has confirmed that each of these schools have changed Title I status

repeatedly over the past several school years and are likely to change status again. But the

Department’s failure to collect and utilize new inputs to calculate Title I allocations will mean that

these schools remain classified as ineligible, even when they become eligible for formula funds

again. This will result in financial harm to the district and the NEA members it employs. See

generally Decl. of Donna Christy filed concurrently with this Declaration.

       23.     These and similar harms will continue at the state and local levels as the effects of

Defendants’ decimation of the Department’s formula grant administration functions trickle down

into the classroom.

       24.     Nor will the harms to NEA members be limited to the formula grant context. It is

my understanding that Defendants’ actions will also inhibit the regular, efficient, and dependable

distribution of competitive grant awards administered by the Department, with similar effects on

school districts that receive these funds and the member positions they support.

       25.     In all, EPIC’s analysis indicates that at least 330,731 NEA member positions are

funded in whole or in part by federal education grants, whether awarded competitively or by

formula. These jobs are now in jeopardy. What is more, the Department has now announced — at

the 11th hour — that over $6.8 billion in formula funds that are made available to states on July 1

of every year will not go out on time. On June 30, leadership of an NEA state affiliate contacted

NEA to inform us that a state education official had received the following notice from the

Department of Education:

               Given the change in Administrations, the Department is reviewing the FY 2025
               funding for the [Title I-C, II-A, III-A, IV-A, IV-B] grant program(s), and
               decisions have not yet been made concerning submissions and awards for this
               upcoming academic year. Accordingly, the Department will not be issuing Grant
               Award Notifications obligating funds for these programs on July 1 prior to
               completing that review. The Department remains committed to ensuring taxpayer


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               resources are spent in accordance with the President’s priorities and the
               Department’s statutory responsibilities.

I understand from other reports that other states have also received this notice.

                 Reliance on Department Informational Resources and Data
       26.     In addition to benefiting from federal education funding, NEA and its members

regularly use informational and instructional resources made available by the Department. Many

members rely on the Education Resource Information Center (“ERIC”), a database maintained by

the Institute of Education Sciences (“IES”), to access free peer-reviewed literature, white papers,

and other research-based materials in the course of pursuing graduate degrees, professional

development opportunities, and education research.

       27.     Members also look to IES’s What Works Clearinghouse, a centralized database of

resources that synthesize evidence-based best practices into educator tools like practice guides to

support classroom implementation, to learn about novel student interventions and pedagogical

approaches. These resources allow our members to stay on top of new research and models by

presenting high-quality information in user-friendly formats, at no cost to educators. Given the

many demands on their time and classroom budgets, these free and practical resources are crucial

to NEA members’ ability to provide the best possible education services to their students.

       28.     In addition to ERIC and the What Works Clearinghouse, NEA members in

specialized roles rely on Department resources that address particular topics or the needs of

particular student populations. For example, members working in special education report that

they regularly consult the Department’s materials on the rights of students with disabilities, and

the dispute resolution process and free appropriate public education requirement under the IDEA,

to understand how best to support students with Individualized Education Programs. And members

who teach or otherwise support English language learners use information and tools available on




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the National Clearinghouse for English Language Acquisition (previously operated by the

Department’s Office of English Language Acquisition) for ideas and new approaches to support

their students.

        29.       NEA members also participate in various IES-funded research projects, through

which they receive valuable professional development and training as well as financial and

employment benefits.

        30.       For example, NEA members in Aurora, Colorado; Spotsylvania, Virginia; Paulding

County, Georgia; and Newton, Massachusetts were employed as instructors in the Charting My

Path for Future Success program, an IES-funded pilot study of different transition services models

to prepare students with disabilities for life after high school. When the Department canceled the

contract for the study in February 2025, these members lost their positions. They had to be

reassigned to other roles in their school districts for the rest of the school year, resulting in pay

cuts for some members. In many cases, these members will have to reapply for available positions

for the 2025–2026 school year, leaving them vulnerable to job losses. See generally Decl. of John

Curley filed concurrently with this Declaration. 4

        31.       Members working in school districts that participate in projects through the IES-

sponsored Regional Educational Laboratories (RELs) benefit from professional development,

classroom resources, and educator support programs developed in partnership with their state or

school district to meet targeted needs. Until February 2025, REL Northwest was collaborating with

Tacoma Public Schools in Washington on a project to analyze math course enrollment among high

school students, with the goal of learning how student experiences in middle and early high school

influence their decision of whether to enroll in more advanced math classes later in their academic


4
 See Cory Turner, DOGE abruptly cut a program for teens with disabilities. This student is ‘devastated’, NPR (Apr.
14, 2025 5:00 AM), https://www npr.org/2025/04/14/nx-s1-5345870/trump-doge-students-disabilities.


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careers. The project also provided resources, training, and technical assistance to Tacoma

educators—all of whom are NEA members—to help them support and empower students to enroll

in more advanced courses. The study was not complete when Defendants canceled the contract for

REL Northwest, shutting down its work. 5

        32.      NEA members in University City, Missouri enjoyed similar benefits through a REL

Central project with the Missouri Department of Elementary and Secondary Education to enhance

mentoring and other supports for early-career teachers to reduce education attrition. 6 This

partnership offered training and coaching for veteran teachers and school leaders on effective

mentoring practices and technical assistance to help the district understand and address new

teachers’ needs. NEA members at all levels of experience gained valuable skills, professional

learning, and support through their participation. But the project came to an end when Defendants

canceled the contract for REL Central in February 2025.

                         NEA Staff’s Use of Department Research and Data
        33.      NEA staff across the organization routinely utilize Department information,

research, practice guides, know your rights publications, data, and other resources to effectively

represent members’ interests.

        34.      In particular, my team in EPIC relies heavily on IES studies, data sets, reports, and

other resources to carry out our research and advocacy work in support of NEA’s core activities.

Some of the tools we use most include:




5
  See Shea Johnson, Trump administration cut ‘woke spending.’ Why a Tacoma schools math study got shelved, The
News Tribune (Feb. 20, 2025 10:34 PM), https://www.thenewstribune.com/news/local/article300619644.html.
6
   See IES, Dep’t of Educ., Improving Early-Career Teacher Retention in Missouri, https://ies.ed.gov/use-
work/regional-educational-laboratories-rel/central/partnerships/improving-early-career-teacher-retention-in-missouri
(last visited June 26, 2025).


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           a. The Common Core of Data: This dataset compiles basic information about public

               and private schools and districts, including how many educators each school and

               district employs by job category; how many students are enrolled and their

               demographics; the percent of students using free or reduced-price lunch;

               information about school characteristics such as Title I status, grades offered, and

               virtual learning; graduation rates; and directory information. Researchers at NEA

               routinely access this information to calculate NEA’s market share (i.e., the percent

               of potential NEA members who are registered as members); to weight samples for

               surveys conducted by NEA to ensure they are representative of the overall

               population of educators; and to map various data and track trends in school

               enrollment and staffing levels, among other metrics, over time;

           b. The Annual Survey of School System Finances: IES facilitates this “fiscal

               collection,” which gathers key financial statistics about states and school districts,

               NEA staff use this comprehensive data to break down and understand how federal

               funding flows at the district and school levels. That information allows NEA to

               create member-facing resources like this Federal Funding Guide; and 7

           c. The National Teacher and Principal Survey: This sample survey of teachers and

               principals is conducted every 2–3 years and provides descriptive data about

               educator characteristics and experiences, which can be analyzed by location and

               position and demographic subgroups. Among other things, the survey asks detailed

               questions about working conditions, educator demographics, and educator career

               plans. Teachers complete a follow-up survey the next year, which measures the


7
   NEA, Federal Education Funding for Selected Programs by State and Program (Feb. 26, 2025),
https://www.nea.org/resource-library/federal-education-funding-selected-programs-state-and-program.


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                number of teachers who leave the profession or switch schools or districts and their

                reasons for doing so. NEA staff use survey results for many purposes, including to

                study changes in educators’ working conditions and career plans and the

                relationship between working conditions and educator attrition.

             Programs to Support Educator Training, Recruitment, and Retention

       35.      Through the decades, NEA has advocated for Department programs to support

educator training, recruitment, and retention initiatives. Stronger teacher preparation and support

for new teachers improves classroom instruction and student learning, and improves teacher

satisfaction and retention rates. Programs that support educator preparation and new educators are

a critical tool for raising educational quality and addressing teacher shortages, particularly in high-

needs schools that are underfunded. To address these issues, Congress has established and funded

a number of these programs as competitive grants awarded to support partnerships between high-

need school districts and colleges and universities nationwide aimed at fostering a diverse educator

workforce, ready to serve where they are needed most.

       36.      The ESEA creates many such programs, including the Supporting Effective

Educator Development (“SEED”) Program. 20 U.S.C. § 6772. SEED grants encourage individuals

with non-traditional backgrounds to enter the education field and serve in traditionally underserved

communities, provide professional development and training to improve educators’ literacy,

numeracy, and intervention skills, and fund activities to help educators pursue advanced

credentials, among other activities. NEA members across the country work in districts that are

participating in SEED grant programs. The resources made available through grant-funded

activities provide members with valuable feedback, training, and professional development.

       37.      Another ESEA competitive grant program, the Teacher and School Leader

Incentive (“TSL”) Grant Program, awards funding to help states and high-need urban and rural


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school districts improve their systems for educator hiring, training, and professional development.

20 U.S.C. § 6632. TSL grants support the salaries of NEA members working in districts

participating in funded programs and also provide members with supports like coaching and

mentoring.

       38.     The Teacher Quality Partnership (“TQP”) Grant Program, a third competitive grant

program established by the Higher Education Act, provides funding for collaborations between

school districts and colleges or universities to carry out teacher preparation programs, teaching

residency programs, and school leadership programs. 20 U.S.C. § 1022a(a). TQP projects have

paid the tuition and other costs for NEA members to complete advanced degrees and credentialing

and offered financial benefits for their participation in teacher residency and training programs as

both students and mentors.

       39.     I understand that Defendants terminated the majority of open SEED, TSL, and TQP

grant awards in February 2025. This has harmed many NEA members who benefit from their

districts’ participation in grant-funded programs and activities. As an example, Ellen Brooks, an

NEA member who works in Monroe School District in Michigan, reports that beginning in the

Fall of 2024, the district participated in the High Impact Leadership for School Renewal (“HIL”)

program, which was funded through a $15 million SEED grant awarded to Western Michigan

University. 8 The Department terminated the HIL grant on or about February 14, 2025, 9 as a result,

planned teacher trainings to implement a new literacy curriculum were cancelled.




8
  MLIVE, $20M Cut at WMU as Trump Administration Slashes Education Grants, (Feb. 18, 2018 10:43 PM),
https://www mlive.com/news/kalamazoo/2025/02/20m-cut-at-wmu-as-trump-administration-slashes-education-
grants.html.
9
  Grace Teachout, Two WMU Grant-Funded Program Awards Terminated, Western Herald (Feb. 15, 2025),
https://www.westernherald.com/news/article_abe55fe0-eb38-11ef-afab-3f8ad8cccf30 html.


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        40.      NEA affiliates in Osborn and Avondale, two Arizona school districts, report that

their districts were participating in the “AZ PRIME” TSL grant program. This project, led by the

National Institute for Excellence in Teaching, awarded funds to help three Arizona school districts,

including Avondale Elementary School District and Osborn School District, to strengthen systems

of support for classroom teaching, build instructional leadership capacity for school leaders, and

raise student achievement. 10 The districts used this money to offer mentoring, coaching, and

support programs for new and veteran teachers. These systems built leadership capacity, expanded

opportunities for educators, and increased the effectiveness of the districts’ ability to recruit,

develop, support, and retain educators who reflect their diverse student bodies. Many of the

educators in Osborn and Avondale are NEA members.

        41.      Without warning, in February 2025, about halfway through the three-year grant

schedule, the Department terminated AZ PRIME. 11 This decision has harmed our members in

Osborn and Avondale. Osborn Education Association President Storm Gerlock and Treasurer

Hilda Palache Leon informed NEA that several master teachers, at least two of whom including

Ms. Palache Leon are NEA members, received reduction in force notifications as a result of the

grant termination. See generally Decl. of Ed Hermes filed concurrently with this Declaration.

        42.      Likewise, Avondale Education Association President Nicole Wolff reports that her

district’s AZ PRIME supports the hiring of additional mentor teachers, master teachers and

instructional coaches; professional development on best practices for coaching and mentoring; and

a new teacher induction program. Our members took advantage of all these offerings, and teacher



10
   Press Release, NEIT, Building the Profession: Three-Year Federal Grant Will Grow and Retain Educators in
Arizona (Sept. 27, 2023), https://www.niet.org/newsroom/show/pressrelease/building-the-profession-three-year-
federal-grant-will-grow-and-retain-educators-in-arizona.
11
   Sean Rice, Three Arizona School Districts Lose Federal Grant Funding Amid Push to End DEI Policies, 12 News
(Mar. 3, 2025 8:28 PM), https://www.12news.com/article/news/education/three-arizona-school-districts-lose-federal-
grant-funding-amid-push-to-end-dei-policies-osborn-avondale-gadsden/.


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retention in the district rose dramatically, to 94%. But because Defendants terminated the AZ

PRIME grant, coaches and mentor teachers in Avondale have been displaced and all of the

professional development programming has been canceled. As a result, the workload of more

experienced members has increased as they continue to teach their own classrooms while also

supporting a new group of inexperienced teachers every year due to teacher turnover.

           43.     Vicki Kidwell, President of the Clay County Education Association in Florida,

informed NEA that many NEA members in Clay County, Florida have been adversely impacted

by the defunding of Project PREP, a TQP grant project offered through the University of North

Florida. As an example, a fifth-grade science teacher enrolled in the teacher leadership program in

the fall of 2024 and completed two semesters with the help of Project PREP funding. When the

funding was canceled, she became unable to afford her third and final semester—which was set to

begin in May 2025—and she has indefinitely paused her plan to complete the program. Even if

she found a way to fund another semester, she would lose access to the cohort model that Project

PREP provided, which she found to be one of the most valuable parts of the program. In addition,

because she was unable to finish the semester, she did not receive a certificate. She was therefore

unable to enroll in a degree-granting master’s program in education leadership. This has

undermined her longer-term plan to become a vice principal.

           44.     Similarly, NEA members in Bridgeport, Connecticut were engaged in a teacher

residency program, in collaboration with Sacred Heart University, that received a five-year, $3.3

million TQP grant to support the Teachers at Heart residency program in collaboration with Sacred

Heart University. 12 The program was designed to address a critical teacher shortage in high-need

districts in Connecticut and improve student achievement. Through this program, teacher mentors



12
     See SHU Grant Proposal Narrative, PR Award # S336S240065, at 15 (2024), https://bit.ly/4iOm9hb.


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received an approximately $4,000 stipend annually as partial compensation for their time

mentoring. The mentors were also to be given opportunities for ongoing professional development

that would be responsive to the needs of residents and the mentors throughout the school year. As

a result of the grant’s termination, Bridgeport will no longer be able to provide a stipend to each

mentor to honor their work or time taken to attend the mentor academy or coaching training.

Mentors will no longer be able to receive micro-credentialing to turn their mentor academy into a

degree-granting mechanism in teacher leadership, as was expected toward the end of this grant

period.

                NEA’s Work to Expand Mental Health Supports for Students
          45.   NEA has long advocated for the expansion of school-based mental health services

to address students’ social and emotional needs and create safe and support school environments.

In recent years, Congress established a bipartisan program to do just that by awarding more than

$1 billion in competitive grants through two programs: the School-Based Mental Health Services

(“SBMH”) Grant Program and the Mental Health Service Providers Demonstration (“MHSP”)

Grant Program. See 20 U.S.C. § 7281(a)(1)(B); Bipartisan Safe Communities Act, Pub. L. No.

117-159, Title II, 136 Stat. 1313, 1342 (2022). The SBMH program seeks to increase the number

of mental health service providers, like school counselors, social workers, and psychologists, who

deliver school-based mental health services to K–12 students, while the MHSP program is aimed

at training and recruiting new school-based mental health service providers to work in high-need

districts.

          46.   As part of EPIC’s work, NEA notified its affiliates of these grant opportunities and

urged affiliates to work with their states and school districts to submit applications. School-based

mental health services offer students critical support from social workers, school psychologists,

and other certified mental health professionals, who are trained to address student behaviors and


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other needs. By providing such supports, schools not only improve outcomes for individual

students but for the whole school as they meet a critical need that classroom teachers would

otherwise have to attempt to address. The demands on teachers can make teachers’ jobs

unsustainable as they are asked to balance management of students’ disruptive behaviors and

serious mental health and emotional concerns against the educational needs of their entire class.

The stress and workload this dynamic creates is one of the reasons increasing numbers of new

teachers leave the profession entirely.

       47.     SBMH and MHSP grants provide school districts with the resources they would

otherwise lack to hire and retain additional mental health service providers, offer more training

and support to general education personnel and existing mental health providers, and build a

pipeline of future service providers to remediate severe gaps in access to mental health care. For

all these reasons, many NEA affiliates consulted and collaborated with state and local

administrators to support state and school district applications for the competitive SBMH and

MHSP grants. And several of the SBMH and MHSP grant awards included funds to pay part or

all of the salaries of NEA members working in mental-health-related roles.

       48.     It is my understanding that on April 29, 2025, Defendants issued letters

discontinuing more than 200 SBMH and MHSP grants as of December 31, 2025. Losing this

critical funding is already forcing school districts to cut mental health programs and services that

were making a difference for their students and educators and in some cases, to cut the positions

of NEA members in grant-funded positions. As examples, NEA has received information from

NEA affiliates whose members have been impacted by the termination of SBMH grants in their

districts, including, but not limited to: Coneja Valley Teachers’ Association (California), Contra

Costa County Teachers’ Association (California), Gwinnett County Teachers’ Association




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(Georgia), Rapid City Education Association (South Dakota), Wake Northern Carolina

Association of Educators, Wisconsin Education Association Council (School District of Shell

Lake), Multnomah Education Service District Education Association (Oregon), and Ohio Valley

Educational Cooperative (Kentucky). Additional, non-exhaustive examples based on the

information NEA has received from our affiliates follow, all of which had their SBMH grants

discontinued by the Department as part of the April 29, 2025 mass elimination of the program:

           a. Crystal Lake Elementary Teachers’ Association (Illinois): Crystal Lake received a

              SBMH grant that funded 12 positions, including 11 social workers or counselors.

              The school district reports that adding these positions decreased in office discipline

              referrals, mental health hospitalizations, and both out-of-school and in-school

              suspensions. As of April 2025, the district reported that over 1,400 middle school

              students submitted requests to see a school-based mental health provider and

              received a response, and the district was able to support more than 1,200 students

              across its 12 schools who were not identified as students with disabilities. The

              Department discontinued Crystal Lake’s grant, eliminating the funding for these

              positions and that work.

           b. Eureka Teachers Association (California): Eureka is a rural and underserved

              community with only one pediatric psychiatrist and long waitlists for therapy. The

              district’s SBMH grant allowed it to fund seven full-time mental health service

              providers and one full-time support staff member who have been essential to the

              school community. Students rely on their services for emotional well-being and

              academic success. Because the Department discontinued the SBMH grant, Eureka

              will not be able to fund those positions moving forward.




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            c. La Mesa-Spring Valley Teachers’ Association (California): La Mesa-Spring Valley

                School District received a $11 million grant that funded 30 mental health

                professionals across the school district. The funds were also used for the Parent

                Empowerment Program (PEP), an after-school program for students in preschool,

                transitional kindergarten, and kindergarten who need additional support with

                behaviors that prevent them from engaging positively and effectively in the

                classroom. 13 But the grant was discontinued by the Department, eliminating the

                funding for these positions and work.

            d. Lemon Grove Teachers Association (California): The Lemon Grove School

                District was the recipient of a SBMH grant. See also Decl. of Marianna Vinson,

                filed concurrently with this declaration. The grant funded three new social worker

                positions and one new full-time lead social worker who trains and supports social

                workers across the district, all represented by the Lemon Grove Teachers

                Association. NEA members in Lemon Grove rely on the social workers’ services

                because it is not possible to address the needs of dysregulated students while also

                being the instructional leader needed for all students to make the necessary

                academic growth. Without the SBMH grant funds, increasing caseloads for the

                remaining social workers will lead to burnout and reduced retention rates.

            e. Lincoln Education Association (Nebraska): The Lincoln School District received a

                SBMH grant that it used to fund new school counselor positions.




13
  Danyelle Levesque, ‘I couldn’t be more thankful’: How the Parent Empowerment Program is supporting LMSVSD
students, LA Mesa Times (Mar. 8, 2025), https://lamesatimes.com/2025/03/08/i-couldnt-be-more-thankful-how-the-
parent-empowerment-program-is-supporting-lmsvsd-students/.


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              f. Phoenix-Talent Education Association (Oregon): Members of the Phoenix-Talent

                 Education Association worked at schools that received federal funding through the

                 Southern Oregon Expansion of School-Based Mental Health Services. 14 This

                 project was developed in response to the devastation caused by the 2020 Almeda

                 Fire, which destroyed over 2,800 homes and displaced hundreds of students in the

                 district. It aimed to stabilize the school community and address a deepening youth

                 mental health crisis in the region, marked by high rates of trauma, opioid misuse,

                 and suicide.

        49.      NEA affiliates are also beneficiaries of MHSP grants and will be affected by their

discontinuation. NEA members have been and will continue to be affected by the mass termination

of MHSP grants. A non-exhaustive list of impacted affiliates and members includes the following:

              a. In Maryland, the Prince George’s County Education Association, Teachers

                 Association of Anne Arundel County, and Montgomery County Education

                 Association received funding through a partnership between the relevant school

                 districts and Bowie State University. See Decl. of Donna Christy, filed concurrently

                 with this declaration 15;

              b. In Washington, the Seattle Education Association, Spokane Education Association,

                 and Walla Walla Valley Education Association, among many others, through a

                 partnership with the University of Washington 16;



14
   Press Release, Senator Jeff Merkley, Wyden, Merkley: Nearly $20 Million to Oregon School Districts to Hire More
Mental Health Providers (Jan. 6, 2023), https://www merkley.senate.gov/wyden-merkley-nearly-20-million-to-
oregon-school-districts-to-hire-more-mental-health-providers/.
15
   See also Press Release, Mental Health Professionals and Teachers of Color Pipeline Highlighted, Bowie State
Univ. (Feb. 7, 2024), https://bowiestate.edu/about/news/2024/secretary-cardona-visits-bowie-state-university-for-
national-school-counseling-week.
16
   SMART Center, SMART Center Update: Federal Funding Uncertainty & Potential Impacts, Univ. of Wash. (May
15, 2025), https://smartcenter.uw.edu/tile/in-the-news/.


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             c. In Alaska, the Anchorage Education Association, through a partnership between

                 the school district and the University of Alaska Anchorage, saw an increase in

                 school social workers funded through an MHSP grant 17;

             d. In Alabama, members in Montgomery, Crenshaw, Coffee, Geneva and Macon

                 Counties, through a partnership with Troy University 18;

             e. In Idaho, the Pocatello Education Association, American Falls Education

                 Association, Bear Lake Educators Association, and Cassia County Education

                 Association, through a partnership with Idaho State University 19;

             f. In Indiana, the Pike Township Teachers Association, Tippecanoe Educators

                 Association, and Lafayette Educators Association, through a partnership with

                 Indiana University;

             g. In Nevada, the Clark County Education Association, through a partnership with

                 Nevada State College 20; and

             h. In South Carolina, the Greenville County Education Association, through a

                 partnership with Clemson University. 21




17
   Catalina Myers, UAA’s School of Social Work $1.2 Million Department of Education Grant Will Fill School Social
Worker Shortage in Alaska, Univ. of Alaska, Anchorage (Sept. 29, 2023), https://www.uaa.alaska.
edu/news/archive/2023/09/sswend-school-of-social-work.cshtml.
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   Andy Ellis, Grant Will Enable Troy University to Help Area Schools Address Mental Health Needs, Troy Today
(Feb. 17, 2023), https://today.troy.edu/news/grant-will-enable-troy-university-to-help-area-schools-address-mental-
health-needs/.
19
   SU News, Idaho State University Awarded $4.5 Million Grant to Transform Mental Health in Schools, Idaho State
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transform-mental-health-in-schools html.
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   Douglas Lanadaverde & Katherine Dockweiler, OPINION: New Workforce Pipeline Helps Address Nevada’s Youth
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workforce-pipeline-helps-address-nevadas-youth-mental-health-crisis.
21
    Sydney Shadrix, Multi-Million Dollar Grant Awarded to Clemson University to Educate Aspiring School
Counselors, WYFF-TV (Feb. 14, 2025 5:42 PM), https://www.wyff4.com/article/multi-million-dollar-grant-used-to-
educate-aspiring-school-counselors/42892126.


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